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                                                  UNITED STATES DISTRICT COURT
                                                   for tlie District of New Jersey [LIVE]
                                                                 Camden,NJ



    DARIUS GITTENS
                                                          Plaintiff,
    V.                                                                                 Case No.: 1:18-cv-02519-RBK-KMW
                                                                                       Judge Robert B. Kugler
    MILDRED SCHOLTZ, et al.
                                                          Defendant.

   Dear Litigant:

      The Clerk's Office has received and processed your complaint and has assigned the above-listed
   docket number and judicial officer. The docket number and Judge's initials must appear on any paper
   that is submitted to the Court.

      To allow you to serve your complaint on Defendants through the U.S. Marshals Service ("USMS"),
   enclosed please find a USMS Form 285 ("285 form"), which you must complete and return to the
   USMS within 30 days. One 285 form must be completed for each named defendant to be served. The
   USMS will NOT serve the summons and complaint unless it receives a form for that defendant. A
   sample of a completed 285 form is attached. If you do not wish to use the USMS to serve your
   complaint, you must notify the Court in writing within 30 days of the date of this letter and request a
   summons to be issued to you directly.

      You must serve your complaint within 90 days of the date it was filed, regardless of whether you use
   the USMS to serve your complaint. It is your responsibility to inquire of the USMS as to whether
   service has been made and, if necessary, to request an extension of time for service from the Judge
   presiding over your case. If within 90 days of the filing of the complaint, you have not made service or
   requested an extension of time, the Court may dismiss this action for failure to prosecute under Rules
   4(m) and 41(b) of the Federal Rules of Civil Procedure. Finally, it is your obligation to promptly submit
   a written notification to the Court if your address changes, and the Court may dismiss the action
   pursuant to Local Civil Rule 10.l(a) if you fail to do so.

         Send completed USM 285 form(s) to the U.S. Marshal's Service at:

            UNITED STATES MARSHAL'S SERVICE
            4th & Cooper Streets
            Camden, NJ 08101

                                                                                     Very truly yours,

                                                                                     William T. Walsh, Clerk
                                                                                     By Deputy Clerk, rtrn

                                                               FOR OFFICIAL USE ONLY


         The USMS certifies that:

            D 285 form received on _ _ _ _ _ _ _ (date)

            D 285 form not received by                    JI Isl /cHJ
                                                                    I
                                                                                    (date)


                                                                                  Si nature of Authorized USM Deputy/Clerk

    I If you are suing the United States, Its agencies, Officers or Employees, you must complete two additional 285 forms-one for the U.S. Attorney for New
   Jersey, and one for the Attorney General of the United States, see Fed.R.Civ.P. 4 (i).

   2 Effective December 1, 2015, Rule 4(m) of the Federal Rules of Civil Procedure was amended to require that the defendant be served within 90 days after
   the complaint is filed.
